                     Case 1:17-cv-01117-RP Document 141 Filed 09/28/22 Page 1 of 2


A0 133   (Rev. 12/09) Bill of Costs



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                        Western District of Texas

                    Good River Farm, LP                                 )

                                                                        )

                                 V.                                     )       CaseNo.: 1:17-cv-01117
         Martin Marietta Materials, Inc. and TXI                        )

                    Operations, LP                                      )



                                                            BILL OF COSTS

Judgment having been entered in the above entitled action on                08/24/2022       against       Defendants
                                                                                Date
the Clerk is requested to tax the following as costs:

Feesof the Clerk   ..................................................................                                     S               307.00

Fees for service of summons and subpoena ..............................................
                                                                                                                                            0.00

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case    ......                           12,818.08

Fees and disbursements for printing      ....................................................                                               0.00

                                                                                                                                            0.00
Fees for witnesses   (itemize on page two) ...................................................

Fees for exemplification and the costs of making copies of any materials where the copies are
                                    .................................................
necessarily obtained for use in the case

Docket fees under 28 U.S.C. 1923 .....................................................
Costs as shown on Mandate of Court of Appeals ..........................................

Compensation of court-appointed experts ...............................................
                                                                                                                                            0.00

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828         .....                           1,725.00

Other costs (please itemize) .............................................................
                                                                                                          TOTAL                      14,850.08
                                                                                                                          $

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                 Declaration

         I declare under penaltyof perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
                Electronic service                            First class mail, postage prepaid
                Other:
         5/   Attorney:        /s/ Travis J. Phillips
                     Name of Attorney: Travis J. Phillips

For:                                        Good River   Fajj,f                                   _____        Date:          09/07/2022
                                             Name of Claiming Party

                                                             Taxation of Costs
Costs are taxed in the amount of                                                                                       included in the judgment.


                     Clerk of Court                                                                                                Date
                       Case 1:17-cv-01117-RP Document 141 Filed 09/28/22 Page 2 of 2

AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                     Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                      ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                         Total Cost
                                                                                Total                Total                Total         Each Witness
           NAME CITY AND STATE OF RESIDENCE
                   ,



                                                                      Days      Cost       Days      Cost      Miles      Cost


                                                                                                                                                 $0.00


                                                                                                                                                 $0.00


                                                                                                                                                 $0'00


                                                                                                                                                 $0.00


                                                                                                                                                 $o,o0



                                                                                                                                                  $0.00


                                                                                                                       TOTAL                      $0.00


                                                                        NOTICE

   Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
   "Sec. 1924. Verification of bill of costs."
        "Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
   his duly  authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
   that the services for which fees have been charged were actually and necessarily performed."

   See also Section 1920 of Title 28, which reads in part as follows:
      "A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree."

   The Federal Rules of Civil Procedure contain the following provisions:
   RULE 54(d)(1)
   Costs Other than Attorneys' Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs    -  other than attorney's fees     should be allowed to the
   prevailing party. But costs against the United States, its officers, and its agencies may be imposed only  to the extent allowed by law. The clerk
   may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

   RULE 6
   (d) Additional Time After Certain Kinds of Service.

                                                                                                                                        days are
       When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3
   added after the period would otherwise expire under Rule 6(a).

   RULE 58(e)
   Cost or Fee Awards:
        Ordinarily, the ently ofjudgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But
                                                                                                                                        if a
   timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
   effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
